                  UNITED STATES BANKRUPTCY COURT
                   EASTERN DISTRICT OF MICHIGAN
                    SOUTHERN DIVISION – DETROIT

 In re:
                                            Chapter 13
 Linda R. Sosnowski,                        Case No. 18-55233-mbm
                                            Hon. Marci B. McIvor
                 Debtor.


  US BANK TRUST NATIONAL ASSOCIATION AS TRUSTEE OF THE
 CHALET SERIES IV TRUST’S OBJECTIONS TO CONFIRMATION OF
                 DEBTOR’S PROPOSED PLAN

PLEASE TAKE NOTICE that secured Creditor, US Bank Trust National
Association as trustee of the Chalet Series IV Trust objects to the Debtor’s proposed
Chapter 13 Plan for the following reasons:

   1. Shellpoint holds the first Mortgage on the property located at 34024 Aztec
      Drive, Westland, MI 48185.

   2. Debtors’ proposed Chapter 13 Plan provides for monthly plan payments in the
      amount of $1,137.00.

   3. Debtors’ Chapter 13 Plan provides for an estimated arrears of $44,105.39.

   4. The Debtor’s Chapter 13 Plan specifically provides that the Debtor will obtain
      a mortgage modification which will resolve any existing mortgage arrearage.

   5. That the Debtor’s Loan Modification as to the above referenced real property
      that was subsequently denied by Creditor.

   6. Without an increase in the monthly payments from the Debtors, the Plan is
      infeasible.

   7. For the above stated reasons, Creditor objects to confirmation of Debtor’s
      proposed Plan.




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THEREFORE, US Bank Trust National Association as trustee of the Chalet Series
IV Trust requests that Debtor’s proposed Chapter 13 Plan be amended to provide for
the above stated objections.

                                     FABRIZIO & BROOK, P.C.

Dated: May 31, 2019                  /s/ Panayiotis D. Marselis
                                     Panayiotis D. Marselis (P66572
                                     Attorney for Creditor
                                     700 Tower Drive, Ste 510
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                                     bankruptcy@fabriziobrook.com




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                                   PROOF OF SERVICE

Adam Harvey says that on May 31, 2019, I served a copy of the Objection to Confirmation on
behalf of US Bank Trust National Association as trustee of the Chalet Series IV Trust, upon the
following parties either electronically, or by depositing in the U.S. Mail, postage prepaid

 Charles J. Schneider                         David Wm Ruskin
 39319 Plymouth Rd. Suite 1                   26555 Evergreen Rd Ste 1100
 Livonia, MI 48150                            Southfield, MI 48076-4251


                                                   /s/ Adam Harvey
                                                   Adam Harvey
                                                   700 Tower Drive, Suite 510
                                                   Troy, MI 48098
                                                   (248) 362-2600
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